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1 |] Jose DeCastro

1258 Franklin St.
2 || Santa Monica, CA 90404
| (310) 963-2445
3 || chille@situationcreator.com
4 |
5 UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
6

 

 

7\| JOSE DECASTRO Case No.:

COMPLAINT FOR DAMAGES AND
DEMAND FOR JURY TRIAL

8 Plaintiff,
9} v.

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10 || LAS VEGAS METROPOLITAN POLICE )
DEPARTMENT; STATE OF NEVADA; ) 2:23-cv-00580-APG-EJY

11 || BRANDEN BOURQUE; JASON TORREY; _)

C. DINGLE; B. SORENSON; JESSE )

12 || SANDOVAL; OFFICER DOOLITTLE; )

and DOES 1 to 50, inclusive )

)

)

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Defendants.
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16 INTRODUCTION
17 1. Plaintiff, a member of the press who specifically records police interactions was

18 || recording a police officer interaction outside of a Rollin Smoke BBQ in Southwest Las Vegas,

19 |} Nevada. Five Las Vegas Metropolitan Police officers, including the officer that he was recording,

 

20 || under the guise of protecting the privacy of another citizen in public, without reasonable suspicion

 

21 || that the Plaintiff was involved in any criminal activity, did interfere with and rob Plaintiff of his

22 || liberties while he was in a place that he was lawfully allowed to be, while Plaintiff was performing

23 || constitutionally protected activities. The officers detained Plaintiff, handcuffed, arrested, battered,

 

 

 

 
 

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tortured, forced him into the back of a patrol vehicle, and searched him and his possessions. None
of the defendants intervened to prevent the unreasonable detention, arrest, battery, torture, or
searches.

2. Sadly, the abusive treatment Plaintiff endured for merely asserting his rights and
recording the police is not unusual or surprising. This civil rights action seeks to vindicate
Plaintiffs constitutional and statutory rights and hold the officers and their department accountable
for biased policing practices and the policies (or absence of policies) that resulted in these
practices.

PARTIES

3. Plaintiff Jose DeCastro (“DeCastro”) is an adult over the age of eighteen, a member of
the press, and at all times relevant hereto, was and is a resident of the State of California.

4, Defendant Las Vegas Metropolitan Police Department (“LVMPD”) is a quasi-
municipal entity and a political subdivision of the State of Nevada created and regulated by NRS
Ch. 258 and at all times relevant hereto, employed all of the individually named Defendants.

5. Defendant State of Nevada (“Nevada”) is a government entity and at all time relevant
hereto, operates, oversees, and manages Defendant LVMPD under the color of state law.

6. Defendant Branden Bourque (“Bourque”) is, and at all relevant times was, an officer
with the LVMPD. In doing the things herein alleged, Bourque was acting under the color of state
law and in the course and scope of his employment with Nevada. Bourque is sued in his
individual capacity.

7. Defendant Jason Torrey (“Torrey”) is, and at all relevant times was, a supervisor with
the LVMPD. In doing the things herein alleged, Torrey was acting under color of state law and

in the course and scope of his employment with Nevada. Torrey is sued in his individual

 
 

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capacity, including in his capacity as a supervisor.

8. Defendant C. Dingle (“Dingle”) is, and at all relevant times was, an officer with the
LVMPD. In doing the things herein alleged, Dingle was acting under the color of state law and
in the course and scope of his employment with Nevada. Dingle is sued in his individual

capacity. Plaintiff does not know the full true name of C. Dingle.

9. Defendant B. Sorenson (“Sorenson”) is, and at all relevant times was, an officer with

| the LVMPD. In doing the things herein alleged, Sorenson was acting under the color of state law
and in the course and scope of his employment with Nevada. Sorenson is sued in his individual

| capacity. Plaintiff does not know the full true name of B. Sorenson.

10. Defendant Jesse Sandoval (“Sandoval”) is, and at all relevant times was, an officer

with the LVMPD. In doing the things herein alleged, Sandoval was acting under the color of

 

 

state law and in the course and scope of his employment with Nevada. Sandoval is sued in his
individual capacity.

11. Defendant Officer Doolittle (“Doolittle”) is, and at all relevant times was, an officer
with the LVMPD. In doing the things herein alleged, Doolittle was acting under the color of state
law and in the course and scope of his employment with Nevada. Doolittle is sued in his
individual capacity. Plaintiff does not know the full name of Officer Doolittle.

12. The true names and capacities, whether individual, corporate, associate, or otherwise,
of Defendants sued herein as Does 1-50, inclusive, are unknown to Plaintiff, who therefore sues
said defendants by such fictitious names. Plaintiffs will amend this Complaint to show the true
names and capacities if and when the same are ascertained. Plaintiff is informed and believes,
and thereon alleges, that said Defendants, and each of them, are responsible in some manner for

Plaintiff's damages as herein alleged. Each reference in this complaint to “defendant”,
 

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“defendants”, “Defendants”, or a specifically named defendant also refers to all “Doe”
defendants.

13. Plaintiff is informed and believes and thereon alleges that each of the Defendants
sued herein was negligently, wrongfully, and otherwise responsible in some manner for the
events and happenings as hereinafter described, and proximately caused injuries and damages to
Plaintiff. Further, one or more Doe Defendants was at all material times responsible for the
hiring, training, supervision, and discipline of other defendants, including the individually named
and Doe Defendants.

14. Plaintiff is informed and believes and thereon alleges that at all times herein
mentioned each of the Defendants, including all defendants sued under fictitious names, was the
agent and/or employee of each of the other Defendants, and in doing the things hereinafter
alleged was acting within the course and scope of such agency and employment.

15, Plaintiff is informed and believes and thereon alleges that at all times herein
mentioned each of the Defendants, including all defendants sued under fictitious names, was the
agent and/or employee of each of the other Defendants, and in doing the things hereinafter
alleged, was acting within the course and scope of such agency and employment.

16. Plaintiff is informed and believes, and thereon alleges, that each of the Defendants
was at all material times an agent, servant, employee, partner, joint venturer, co-conspirator,
an/or alter ego of the remaining Defendants, and in doing the things herein alleged, was acting
within the course and scope of that relationship. Plaintiff is further informed and believes, and
thereon alleges, that each of the Defendants herein gave consent, aid, and assistance to each of
the remaining Defendants, and ratified and/or authorized the acts or omissions of each Defendant

as alleged herein, except as may be hereinafter otherwise specifically alleged. At all material
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times, each Defendant was an integral participant, jointly engaged in constitutionally violative,
unlawful, and/or tortious activity, resulting in the deprivation of Plaintiff's constitutional rights
and other actionable harm.

17. At all material times, each Defendant acted under color of the laws, statutes,

| ordinances, and regulations of the State of Nevada.

JURISDICTION AND VENUE

 

 

18. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and
1343(a)(3)-(4) because it arises under the Constitution and laws of the United States, as it is
being brought to obtain compensatory and punitive damages for the deprivation, under color of
state law, of the rights of a citizen of the United States that are secured by the United States
Constitution, pursuant to 42 U.S.C. §§ 1981, 1983, and 1988. This Court has supplemental
jurisdiction over the claims arising under Nevada law pursuant to 28 U.S.C § 1367(a).

19. This Court is the proper venue pursuant to 28 U.S.C. § 1391(b)(2) because the events

 

 

giving rise to the claims occurred in the County of Clark in Nevada which is in the U.S. District
of Nevada.
GENERAL FACTUAL ALLEGATIONS

20. At approximately 4:30pm Pacific on March 15, 2023, Plaintiff happened upon a
police interaction between a woman sitting in a silver Hyundai Elantra and Bourque who was
sitting in a Ford police interceptor with the LVMPD logo on it and the number 19084. Plaintiff
does not know the woman’s name but will refer to her as “Jane”.

21. Plaintiff started recording the police interaction on one of his phones, moved to a
position approximately 10 feet away from Jane and making sure not to become between Bourque

and Jane, he asked her if she, “Was good. Are you okay?”
 

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22. Within six seconds, Bourque left his vehicle, got Plaintiffs attention, and told him to
back up, which Plaintiff immediately did, giving Bourque an additional five feet.

23. Bourque told Plaintiff to back up again, or he would detain Plaintiff, at which time
Plaintiff began asserting his rights to record the interaction, saying “I’m more than 10 feet away.
I’m a member of the press. I have a right to be here.” Bourque threatened to detain Plaintiff for
“obstructing” and said, “She deserves privacy. This is not your business.”

24. Plaintiff continued to assert his rights and notified Bourque that Plaintiff was 2
member of the press at which time Bourque got upset and said that he was detaining Plaintiff.

25. Bourque told Jane to leave and started walking aggressively toward Plaintiff as if to
use force, and Plaintiff took a step back to prevent any physical confrontation.

26, Plaintiff continued to protest Bourque putting his hands on him unnecessarily, but
Bourque was patently interested in manhandling Plaintiff in some way, and said “Listen, I am
going to put my hands on you.” Bourque did indeed batter Plaintiff.

27. While Plaintiff was firm in his verbal tone, he never screamed or yelled, he never
threatened Defendants, and never said or did anything that would have led a reasonable law
enforcement officer to fear for their safety or to suspect that Plaintiff committed, or was planning
on committing, any crime.

26. Plaintiff asked for a supervisor and while continuing to protest against illegal
detainment and against the use of unnecessary force, Plaintiff offered to walk to Bourque’s
vehicle which seemed to be where the officer wanted to illegally detain Plaintiff. As soon as
Plaintiff reached the vehicle, he was forcefully grabbed and told that he was being placed under
atrest.

27. Plaintiff was patted down and placed in handcuffs. Plaintiff made Defendants aware
 

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of a prior shoulder injury, and Plaintiff was put in two pairs of handcuffs to adhere to his medical
needs, Although later during the encounter, a Defendant police officer would yank and squeeze
forcefully on Plaintiff's arm, over and over and over, unnecessarily.

28, Plaintiff was soon surrounded by four different police officers, now Defendants,
where he continued to protest that they had no valid reason to detain or arrest him. Bourque
accused Plaintiff of being on drugs based on the color of his skin. Plaintiff said that he did not
| have a criminal record and Bourque entered his vehicle to type up a report.

29. Soon after, one of the Defendant officers demanded that Plaintiff look only straight
ahead and when Plaintiff did not immediately comply, the Defendant began squeezing Plaintiff's
| elbow, placing pressure on the ulnar nerve.

30. Plaintiff complained about the pain and protested against needing to look in a specific
direction to have an arrest effectuated on him.

31. The Defendant squeezing Plaintiffs elbow said that it was within their policy to
squeeze elbows for people in their custody that did not comply with random commands that
| would grant complete dominion over another human being; from which way Plaintiff's head

| could turn, to his right to use speech, or when he can blink.

 

32. Plaintiff did experience severe pain and paresthesia from the compression of his ulnar

nerve.

33. When Plaintiff pleaded for help from the surrounding Defendant officers, they

20 || completely ignored Plaintiff. Plaintiff told them, “You’re going to be sued for Failing to

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intervene. I’m sitting here telling you this man is torturing me. Please ask him to stop.” Plaintiff

was ignored by all sworn peace officers on the scene, who are now Defendants.

34, Plaintiff's elbow was squeezed for approximately fifteen (15) minutes in total before

 
 

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Plaintiff's pain tolerance forced him to tear his elbow away from the Defendant officer.

35. At some point, Defendant Torrey, the supervisor, arrived on the scene, authorized the
Defendants’ behavior as being within their policy. Torrey then stated that Plaintiff should be
arrested to discourage Plaintiff's behavior.

36. All the Defendants on the scene knew that there was no reasonable suspicion or
probable cause to suspect Plaintiff of any crimes, but wrongfully believed that they were justified
in detaining Plaintiff for assertion of his civil rights and for refusing to cooperate with the
Defendants’ feelings and ridiculous unreasonable demands of a law-abiding citizen.

37. Bourque engaged in profiling against members of the press when he stated that First
Amendment Auditors had been known for dropping their phone, pulling out guns and shooting at
officers, which is preposterous and provably false.
| 38. A Defendant officer said that Plaintiff needed to be patted down again. Plaintiff
protested that he’d already been patted down by two officers. The officer then spread Plaintiff's
legs uncomfortably wide and purposely and maliciously, and with significant force, struck
Plaintiff in the testicles with what felt like a closed fist. Plaintiff yelled in pain, “I can’t believe
you just hit me in the nuts!”

39. Plaintiff was forcibly placed into a police vehicle by Defendants who pulled the seat

 

belt as tight as they could, knocking the air out of the Plaintiff. Plaintiff again pleaded for help
from surrounding officers, but he was ignored again.

40. B. Sorenson attempted to get Plaintiff arrested for NRS 202.487 for having his dog in
a vehicle, even though Plaintiff's animal was not in unsafe conditions. Plaintiff was searched and
transported to the Clark County Jail where he would not be formally charged, but only released

with citations, approximately five hours after the incident began.
 

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41. The officers’ actions left Plaintiff in the position where he had to pay for a ride back
to his vehicle and did pay monies for such a ride. On the arm that Defendant squeezed, Plaintiff
was left with a severe bruise in his elbow area, continues to have paresthesia in his index and
thumb, and requires ongoing medical care, Almost a month after the incident, B. Sorenson
continues to harass Plaintiff by warning him against violating NRS 202.487 although Plaintiff
has never left his pet in unsafe conditions.

42. As a result of the Defendants’ actions, Plaintiff suffered a deprivation of his rights

and liberties, sustained physical injuries, and suffered physical pain, mental suffering, emotional

 

distress, fear, embarrassment, and other general damages in an amount to be proven at trial.

43. At no time during the encounter with Defendants did Plaintiff do or say anything that
would put a reasonable officer in fear of his or her safety.

44. Following the incident, Bourque claimed in a written incident report that the reason

why Plaintiff was arrested was for engaging with a detained driver, refusing to give an officer

14 || reasonable space to work, and refusing to obey lawful commands after being advised that he was

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detained. A detained person’s rights are only limited as to leaving. A police officer’s, specifically
| Defendant Bourque’s, feelings must be weighed against a citizen’s rights. The Defendants’
behavior did not follow LVMPD’s Use of Force policy and Interactions With the Public policy.
45. The written report by Bourque also claimed:

Because DeCastro was physically uncooperative with officers, admitted to being
in trouble numerous times in the past for similar reasons, and would not even
allow officers to explain to him why he was detained or placed in handcuffs, we
determined that he was not a good candidate for a citation and release. Because of
DeCastro’s actions it was clear that his criminal behavior would continue in the
area if police did not act.

 

46. The facts in the incident report were either fabricated or merely pretextual. Even if
 

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the facts set forth in Defendant Bourque’s report were true (which the video evidence disputes),
those facts still did not give rise to a reasonable suspicion to detain Plaintiff (Terry v. Ohio, 392
USS. 1, 88 8. Ct. 1868 (1968)), and certainly did not furnish probable cause to arrest Plaintiff.
Plaintiff stated early in the encounter that he had no criminal record, and there wasn’t any
criminal behavior. At that point, a reasonable officer would have left the Plaintiff alone. Bourque
never told Plaintiff that there was an investigation or that he was interfering with it. Rather,
Bourque only demanded that Plaintiff respect Jane’s privacy in public. Defendant Bourque
seemed only intent on preventing Plaintiff from recording the police interaction. Perhaps this is
because Plaintiff has recently covered several stories about LVMPD that went viral on the
internet.

47. Plaintiff is informed and believes, and intends to prove after conducting relevant
discovery, that Defendants’ actions in detaining and/or arresting Plaintiff, using force on him,
and illegally searching him and his belongings, was motivated largely or entirely by the
following (1) Plaintiffs’ position as a member of the press that records police interactions for
accountability, (2) Plaintiff's negative viewpoint of police who all contribute or hold silent (the
thin blue line) about police brutality, and/or (3) Plaintiffs’ verbal protestations of the Defendants’
actions and Plaintiff's accusation that the Defendants were harassing him. Indeed, as shown on
the video footage captured by Plaintiff’s cell and the video footage Plaintiff expects to obtain
from the Defendants’ body cams, Plaintiff did not do or say anything that would have provided
reasonable suspicion or probable cause for the detention and/or arrest, excessive use of force, and
subsequent searches. Therefore, there is a strong inference that the Defendants were in fact
motivated by one or more of the three factors enumerated above.

FIRST CAUSE OF ACTION

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42 U.S.C. Section 1983 — Fourth Amendment
(Against Bourque, Torrey, Dingle, Sorenson, Sandoval, Doolittle, and Does 1 - 25)

48. Plaintiff refers to paragraphs 1-47 of this Complaint and incorporates by reference the
allegations of said paragraphs as though expressly set forth at length at this point.
49. By the actions and omissions described above, the Defendants, acting under color of

state law in their individual capacities, and as integral participants, violated Plaintiffs’ rights

 

 

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under the Fourth Amendment to the U.S. Constitution. These deprivations include, but are not
limited to:

a. The right to be free from detention without reasonable suspicion;

b. The right to be free from arrest without probable cause;

c. The right to be free from unreasonable search and seizure of property;

d. The right to be free from excessive force and unreasonable force and

restraint in the course of an arrest.

50. Defendants subjected Plaintiff to their wrongful conduct, depriving Plaintiff of rights

described herein, knowingly, maliciously, and with conscious and reckless disregard for whether
the rights of Plaintiff would be violated by their acts and/or omissions. Defendants’ acts and/or

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omissions were the moving force behind, and proximately caused, injuries and damages to

 

Plaintiff as set forth above.

51. Defendants’ conduct entitles Plaintiff to punitive damages and penalties allowable
under 42 U.S.C. § 1983 and Nevada law in an amount sufficient to punish and deter such
conduct. No punitive damages are sought against Nevada.

SECOND CAUSE OF ACTION

42 U.S.C. Section 1983 — Fourteenth Amendment
(Against Bourque, Torrey, Dingle, Sorenson, Sandoval, Doolittle, and Does 1 — 25)
 

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1 52. Plaintiff refers to paragraphs 1-51 of this Complaint and incorporates by reference the
2 || allegations of said paragraphs as though expressly set forth at length at this point.
3 53. By the actions and omissions described above, Defendants, acting under color of state

4 || law in their individual capacities, and as integral participants, violated Plaintiffs’ rights under the

 

5 || Equal Protection Clause of the Fourteenth Amendment to the U.S, Constitution. Defendants

6 || intentionally discriminated against Plaintiffs based on the color of his skin, his position as a

7 | member of the press, and due to his viewpoints. Defendants would not have harassed, detained,
8 || arrested, used force on, and searched Plaintiff if he had been more like them. In particular,

9 || according to Defendants’ own incident reports, one of the facts upon which they relied in

10 || detaining and/or arresting Plaintiff is that there were previous incidents involving members of
11 || the press dropping their cameras and pulling out guns. Choosing to detain Plaintiff — a member
12 || of the press — based on alleged actions and/or involvement of other members of the press and due
13 || to the color of his skin is illegal profiling and prohibited by the Fourteenth Amendment’s Equal
14 || Protection Clause and by NRS 289.510. If the Defendants had been told that a man of their skin
15 || color trying to get police officers autographs (instead of photographing police interactions for
16 || accountability) had pulled guns on police, it is virtually certain that Defendants never would

17 || have detained, arrested, or searched such a person in the same parking lot.

18 54. Defendants subjected Plaintiff to their wrongful conduct, depriving Plaintiff of rights

 

 

19 || described herein, knowingly, maliciously, and with conscious and reckless disregard for whether
20 || the rights of Plaintiff would be violated by their acts and/or omissions. Defendants’ acts and/or
21 || omissions were the moving force behind, and proximately caused, injuries and damages to

22 || Plaintiff as set forth above.

23 55. Defendants’ conduct entitles Plaintiff to punitive damages and penalties allowable
 

 

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under 42 U.S.C. § 1983 and Nevada law in an amount sufficient to punish and deter such

2 || conduct. No punitive damages are sought against Defendant Nevada.
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5 THIRD CAUSE OF ACTION
42 U.S.C. Section 1983 — First Amendment
6 (Against Bourque, Torrey, Dingle, Sorenson, Sandoval, Doolittle, and Does 1-25)
7 56. Plaintiff refers to paragraphs 1-55 of this Complaint and incorporates by reference the
8 || allegations of said paragraphs as though expressly set forth at length at this point.
9 57. By the actions and omissions described above, Defendants, acting under color of state

10 || law in their individual capacities, and as integral participants, violated Plaintiffs rights under the
11 || First Amendment to the U.S. Constitution. In particular, Defendants retaliated against Plaintiff
12 || for his speech, including his verbal protests and criticisms of the Defendants’ actions in

13 || investigating, detaining, and arresting Plaintiffs without any basis, and his exercise of his right to
14 || refuse to cooperate in what started as a consensual encounter. Plaintiff also believes Defendants
15 || retaliated against him for refusing to cooperate in a consensual encounter, which is also protected
16 || activity under the First Amendment.

17 58. Defendants subjected Plaintiff to their wrongful conduct, depriving Plaintiff of rights
18 || described herein, knowingly, maliciously, and with conscious and reckless disregard for whether
19 || the rights of Plaintiff would be violated by their acts and/or omissions. Defendants’ acts and/or
20 || omissions were the moving force behind, and proximately caused injuries and damages to

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21 || Plaintiff as set forth above.

 

 

22 59. Defendants’ conduct entitles Plaintiff to punitive damages and penalties allowable

23 || under 42 U.S.C. § 1983 and Nevada law in an amount sufficient to punish and deter such

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conduct. No punitive damages are sought against Defendant Nevada.
FOURTH CAUSE OF ACTION
42 U.S.C. Section 1983 — Monell and Supervisor Liability
(Against LVMPD, Nevada, Torrey, and Does 26-50)

60. Plaintiff refers to paragraphs 1-59 of this Complaint and incorporates by reference the
allegations of said paragraphs as though expressly set forth at length at this point.

61. The unconstitutional actions and/or omissions of Defendants Bourque, Torrey,
Dingle, Sorenson, Sandoval, Doolittle, and Does 1-25 were pursuant to the following customs,
policies, practices, and/or procedures of Defendant LVMPD and Nevada, and which were
directed, encouraged, allowed and/or ratified by policymaking officials with Nevada and the
LVMPD:

a. To carry out or tolerate unlawful detentions without reasonable suspicion;

b. To carry out or tolerate unlawful arrests without probable cause;

c. To carry out or tolerate detentions and arrests based on citizens’ refusal to
cooperate with consensual encounters;

d. To carry out or tolerate detentions and arrests based on citizens’ exercise of
their First Amendment right to criticize and verbally protest deputies’ actions;

e. To use or tolerate excessive force;

f. To carry out or tolerate unlawful searches of persons and properties;

g. To carry out or tolerate discriminatory and biased policing and/or racial
profiling;

h. To fail to institute, require, and enforce proper and adequate training,
supervision, policies, and procedures concerning each of the foregoing practices;

i. To fail to institute, require, and enforce proper and adequate training,

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supervision, policies, and procedures within the LVMPD concerning the fear experienced

by people of different skin color and other minorities (including cop watching activists)

when interacting with law enforcement in light of well documented, highly publicized,
and disproportionate amount of violence committed by law enforcement against said
groups, and the tactics that LVMPD officers should employ in dealing with said groups
in light of such fears (especially where, as here, they have been explicitly made known to
the officers);

j. To ignore and/or fail to properly investigate, supervise, discipline, and/or
terminate officers who have engaged in unlawful or unconstitutional law enforcement
activity;

k. To allow officers to file false police reports.

62. Defendant Nevada, LVMPD, and Does 26-50 failed to properly screen, hire, train,
instruct, monitor, supervise, evaluate, investigate, discipline and/or terminate Defendants
Bourque, Torrey, Dingle, Sorenson, Sandoval, Doolittle, and Does 1-25 with deliberate
indifference to Plaintiff's constitutional rights. Specifically, Defendants that tortured me. In a
country that is based on respecting Constitutional Rights, those officers are tyrants and a menace,
and their actions are unbecoming of being called “An Officer”. The men who watched then do
what they did should have to pay for this lawsuit out of their own pockets. Plaintiff offered
Bourque, “To not sue you, take these cuffs off me and let’s talk about what we both expect from
one-another, cops and cop watchers.” Meaning Defendant Bourque had the opportunity to avoid
this promised litigation. What could have been settled in a meeting will now cost the taxpayers.

63. The unconstitutional actions of Defendants Bourque, Torrey, Dingle, Sorenson,

Sandoval, Doolittle, and Does 1-25 were approved, tolerated, and/or ratified by policymaking

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officers for Defendant Nevada and the LVMPD.

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2 64. The aforementioned customs, policies, practices, and procedures, and the failure to

 

 

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properly screen, hire, train, instruct, monitor, supervise, evaluate, investigate, discipline and

4 || terminate, and the unconstitutional approval, ratification and/or toleration of the wrongful

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conduct of Defendants Bourque, Torrey, Dingle, Sorenson, Sandoval, Doolittle, and Does 1-25
6 || were a moving force and/or proximate cause of the deprivation of Plaintiff's clearly established
7 || constitutional rights.

8 65. As the supervisor on scene, Defendant Torrey had an obligation to ensure that his

9 || subordinates, including Defendants Bourque, Torrey, Dingle, Sorenson, Sandoval, Doolittle, and
10 || Does 1-25 refrained from violating Plaintiff's Constitutional rights and prevented other peace

11 || officers from violating Plaintiff's rights.

12 66. Because Defendant Torrey learned and was apprised of the relevant facts surrounding

 

 

13 }} the arrest and/or detention of Plaintiff, the use of force on Plaintiff, and the search of his person
14 || and property, and because he knew that such actions were illegal and unconstitutional, Torrey
15 || was obligated to immediately terminate those unconstitutional actions, and by failing to do so,
16 || Torrey is liable in his role as a supervisor. Torrey said specifically, “No, you have to be arrested
17 |) because you’ve done this before and we want to deter the behavior”. He openly stated he didn’t
18 || want Plaintiff to film police and he would put charges on him because he is a nationally known
19 || Cop Watcher. LVMPD is well aware of who Plaintiff is and what he does.

20 67. As a direct and proximate result of Defendants’ conduct, Plaintiff suffered injuries

21 || and damages as set forth above.

22 FIFTH CAUSE OF ACTION
42 U.S.C. Section 1981
23 (Against Bourque, Torrey, Dingle, Sorenson, Sandoval, Dooclittie, and Does 1-25)

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68. Plaintiff refers to paragraphs 1-67 of this Complaint and incorporates by reference the
allegations of said paragraphs as though expressly set forth at length at this point.

69. In doing the things herein alleged, Defendants intentionally discriminated against
Plaintiffs because of his race and political viewpoints, thereby depriving him of his right to the
full and equal benefit of all laws and proceedings for the security of persons and property as is
enjoyed by all other citizens.

70, Defendants subjected Plaintiff to their wrongful conduct, depriving Plaintiff of rights
described herein, knowingly, maliciously, and with conscious and reckless disregard for whether
the rights of Plaintiff would be violated by their acts and/or omissions. Defendants’ acts and/or
omissions were the moving force behind, and proximately caused injuries and damages to
Plaintiff as set forth above.

71. Defendants’ conduct entitles Plaintiff to punitive damages and penalties allowable
under 42 U.S.C. § 1983 and Nevada law in an amount sufficient to punish and deter such
conduct. No punitive damages are sought against Defendant Nevada.

SIXTH CAUSE OF ACTION
Assault
(Against All Defendants)

72. Plaintiff refers to paragraphs 1-71 of this Complaint and incorporates by reference the
allegations of said paragraphs as though expressly set forth at length at this point.

73. In doing the things herein alleged, Defendants intentionally, and without consent or
legal justification, attempted to make a harmful and/or offensive physical contact with Plaintiff
and thereby placed Plaintiff in fear of an imminent harmful or offensive contact.

74. As a direct and proximate result of Defendants’ conduct, Plaintiff was harmed.

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75. Defendants Nevada and LVMPD are vicariously liable for the acts and omissions of
their employees acting in the course and scope of said employment, pursuant to NRS 41.032.

76. The conduct of the individual Defendants was malicious and oppressive in that they
intended to harm Plaintiff and deprive him of his rights, or their actions were despicable and
carried out with a willful and conscious disregard for Plaintiff's rights and safety, entitling
Plaintiff to punitive damages pursuant to NRS 42.005. No punitive damages are being sought
| against Defendant Nevada.

SEVENTH CAUSE OF ACTION
Battery
(Against All Defendants)

77. Plaintiff refers to paragraphs 1-76 of this Complaint and incorporates by reference the

allegations of said paragraphs as though expressly set forth at length at this point.

78. In doing the things herein alleged, Defendants intentionally, and without consent or

 

legal justification, touched Plaintiff in a harmful and offensive manner.

79. As a direct and proximate result of Defendants’ conduct, Plaintiff suffered injuries
and damages as set forth above.

80. Defendants Nevada and LVMPD are vicariously liable for the acts and omissions of
its employees acting in the course and scope of said employment, pursuant to NRS 42.005.

81. The conduct of the individual Defendants was malicious and oppressive in that they
intended to harm Plaintiff and deprive him of his rights or their actions were despicable and
carried out with a willful and conscious disregard for Plaintiff’ rights and safety, entitling
Plaintiff to punitive damages pursuant to NRS 42.005. No punitive damages are being sought
against Defendant Nevada.

EIGTH CAUSE OF ACTION

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False Arrest and Imprisonment
(Against All Defendants)

82. Plaintiff refers to paragraphs 1-81 of this Complaint and incorporates by reference the
allegations of said paragraphs as though expressly set forth at length at this point.

83. In doing the things herein alleged, Defendants intentionally arrested and/or detained
Plaintiff without a warrant or other legal justification, and in doing so restrained Plaintiff,
handcuffed him, and placed him in patrol cars against his will, thereby depriving him of his
freedom of movement.

84. As a direct and proximate result of Defendants’ conduct, Plaintiff suffered injuries
and damages as set forth above.

85. Defendants Nevada and LVMPD are vicariously liable for the acts and omissions of
its employees acting in the course and scope of said employment, pursuant to NRS 42.005.

86. The conduct of the individual Defendants was malicious and oppressive in that they
intended to harm Plaintiff and deprive him of his rights or their actions were despicable and
carried out with a willful and conscious disregard for Plaintiff’ rights and safety, entitling
Plaintiff to punitive damages pursuant to NRS 42.005. No punitive damages are being sought
against Defendant Nevada.

NINTH CAUSE OF ACTION
Invasion of Privacy
(Against All Defendants)

87. Plaintiff refers to paragraphs !-86 of this Complaint and incorporates by reference the
allegations of said paragraphs as though expressly set forth at length at this point.

88. During the incident giving rise to this action, Plaintiff had a reasonable expectation of

privacy in his personal affairs, including the contents of his personal belongings such as vehicles,

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pockets, wallets, cell phones and other electronic devices.
89, In doing the things herein alleged, Defendants intentionally invaded and intruded into

Plaintiff's personal and private affairs by searching his belongings without a warrant or other

 

legal justification.

| 90, Defendants’ invasion of Plaintiff's privacy would have been offensive to any

| reasonable person.

91, As a direct and proximate result of Defendants’ conduct, Plaintiff was harmed.

92. Defendants Nevada and LVMPD are vicariously liable for the acts and omissions of
| its employees acting in the course and scope of said employment, pursuant to NRS 42.005.
| 93. The conduct of the individual Defendants was malicious and oppressive in that they

| intended to harm Plaintiff and deprive him of his rights or their actions were despicable and

carried out with a willful and conscious disregard for Plaintiff’’ rights and safety, entitling

 

Plaintiff to punitive damages pursuant to NRS 42.005. No punitive damages are being sought
against Defendant Nevada.
TENTH CAUSE OF ACTION

Negligence
(Against All Defendants)

 

94. Plaintiff refers to paragraphs 1-93 of this Complaint and incorporates by reference the
allegations of said paragraphs as though expressly set forth at length at this point.

95. The individual Defendants owed Plaintiff a duty to use reasonable care in connection
with the parties’ interactions as described herein. In particular, said Defendants had a duty to
carefully investigate any criminal activity, to use care to avoid subjecting Plaintiff to an illegal
detention, arrest, scizure, retaliation for exercise of free speech, free press, or petition for redress

of grievances, use of force, or deprivation of any of the other rights enumerated herein, and to

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use reasonable care to avoid engaging in biased policing or racial and political affiliation
profiling.

96. In doing the things herein alleged, Defendants breached the applicable duty of care by
acting unreasonably, carelessly, negligently and/or recklessly.

97. As a direct and proximate result of Defendants’ conduct, Plaintiff suffered injuries
and damages as set forth above.

98. Defendants Nevada and LVMPD are vicariously liable for the acts and omissions of
its employees acting in the course and scope of said employment, pursuant to NRS 42.005.

99. The conduct of the individual Defendants was malicious and oppressive in that they
intended to harm Plaintiff and deprive him of his rights or their actions were despicable and
carried out with a willful and conscious disregard for Plaintiff’ rights and safety, entitling
Plaintiff to punitive damages pursuant to NRS 42.005. No punitive damages are being sought
against Defendant Nevada.

PRAYER

Plaintiff prays for damages as follows:

a. For compensatory damages in an amount according to proof;

b. For punitive damages in the amount of $5,000,000 or in an amount sufficient to punish
Defendants conduct and deter similar conduct in the future, pursuant to 42 U.S.C. Section 1983
(no punitive damages are sought against Defendant Nevada);

c. For all applicable statutory penalties;

d. For attorneys’ fees pursuant to 42 U.S.C. Section 1988;

e. For costs of suit;

f. For such other and further relief as the Court deems just and proper.

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury.

CERTIFICATE OF INTERESTED PARTIES (LOCAL RULE 7.1-1)

The undersigned, pro se party, certifies that the following may have a direct, pecuniary
interest in the outcome of this case: Any employee or contractor of the State of Nevada due to
the State of Nevada being a Defendant. Any pro-police organization due to the political
affiliation of the Plaintiff.

DECLARATION

DATED: April 17, 2023

 

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Pro Se

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